             Case 1:16-cv-00745-ESH Document 107 Filed 11/28/18 Page 1 of 3
  

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

     NATIONAL VETERANS LEGAL
     SERVICES PROGRAM, NATIONAL
     CONSUMER LAW CENTER, and
     ALLIANCE FOR JUSTICE, for themselves
     and all others similarly situated,
                             Plaintiffs,                       Case No. 16-745-ESH

             v.

     UNITED STATES OF AMERICA,
                    Defendant.

     NOTICE OF GRANT OF PERMISSION TO APPEAL UNDER 28 U.S.C. § 1292(B)

            Notice is hereby given on this 28 day of November, 2018, that the plaintiffs’ petition for

permission to appeal the order entered on March 31, 2018 (ECF. No. 88) was granted by the

United States Court of Appeals for the Federal Circuit. Both parties filed petitions for permission

to appeal on August 22, 2018 (Fed. Cir. Nos. 18-154, 18-155), which were granted on October 16,

2018 (Fed. Cir. Nos. 19-1081, 19-1083). The order granting permission to appeal is attached.

            Pursuant to Fed. R. App. P. Rule 5(d), plaintiffs file this notice to effect payment of the filing

fee for the appeal.

                                         Respectfully submitted,

                                         /s/ Meghan S.B. Oliver
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          Case 1:16-cv-00745-ESH Document 107 Filed 11/28/18 Page 2 of 3
  

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November 28, 2018            Attorneys for Plaintiffs




       
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           Case 1:16-cv-00745-ESH Document 107 Filed 11/28/18 Page 3 of 3
  

                                CERTIFICATE OF SERVICE

          I hereby certify that on November 28, 2018, I filed this notice through this Court’s

CM/ECF system, and that all parties required to be served have been thereby served.

                                                          /s/ Meghan S.B. Oliver
                                                          Meghan S.B. Oliver




       
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